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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA



Broderick Carter                                             Civil Action No.

                     Plaintiff
v.

Trans Union, LLC;                                            Complaint

Equifax Information Services, LLC;                           And

And                                                          Demand for Jury Trial

Hancock Whitney Bank

                     Defendants


                                          COMPLAINT

     NOW comes the Plaintiff, Broderick Carter (hereinafter the “Plaintiff”), through their

Counsel of record to make their allegations known against the Defendants by and through their

complaint that alleges the following:

                                  PRELIMINARY STATEMENT

     1.    This is an action for actual, statutory and punitive damages, costs, and attorney’s fees

pursuant to 15 U.S.C. §1681 et seq. (Federal Fair Credit Reporting Act).

                                  JURISDICTION AND VENUE

     2.    Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

     3.    Venue in this District is appropriate under 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the claim occurred here since Plaintiff resides in the

Middle District of Louisiana and Plaintiff suffered their damages here. Venue is also proper

under 28 U.S.C. §1391(b)(1) as to all defendants because Trans Union and Equifax report on

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numerous consumers in the Middle District of Louisiana, including Plaintiff, and thus have

sufficient contacts to reside in the Middle District of Louisiana. Hancock Whitney Bank also

conducts business on a regular basis in the Middle District of Louisiana, and Hancock Whitney

Bank has approximately twenty branches in the greater Baton Rouge area. Thus, venue is

appropriate as to Trans Union, Equifax and Hancock Whitney Bank under 28 U.S.C. §1391(b)(1)

and 28 U.S.C. §1391(b)(2) because the defendants have sufficient contacts which makes them

residents of the Middle District, and a substantial part of the events giving rise to Plaintiff’s

claim against the defendants occurred in the Middle District of Louisiana, since Plaintiff is a

resident of the Middle District and their damages occurred here.

                                              PARTIES

   4.      Plaintiff is a natural person and is a citizen of Louisiana. At all relevant times to this

complaint Plaintiff has lived in the Middle District of Louisiana. Plaintiff is a “consumer” as that

term is defined by 15 U.S.C. § 1681a(c).

   5.      Defendant, Trans Union, LLC, (hereinafter Trans Union) is a For-Profit Limited

Liability Company registered to do business in Louisiana and with a registered agent in

Louisiana. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f) and

engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d) to

third parties. Based on information and belief, Trans Union is reporting consumer credit files on

about 250,000 consumers in the Middle District of Louisiana.

   6.      Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a For-Profit

Limited Liability Company registered to do business in Louisiana and with a registered agent in

Louisiana. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f) and



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engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d) to

third parties. Based on information and belief, Equifax is reporting consumer credit files on

about 250,000 consumers in the Middle District of Louisiana.

   7.       Defendant, Hancock Whitney Bank, (hereinafter, Hancock Whitney) is a for profit

company registered to do business in Louisiana and with a registered agent in Louisiana.

Defendant is a “furnisher” of information, as defined by 15 U.S.C §1681s(a)&(b), who regularly

and in the ordinary course of business furnishes credit information to one or more consumer

reporting agencies about consumer transactions. Hancock Whitney is a financial institution

actively conducting business in the Middle District of Louisiana.

                                     FACTUAL ALLEGATIONS

   8.       Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.

   9.       Plaintiff’s debt on Hancock Whitney account # ****9018 arose from a credit card.

The debt from this account was eliminated on or about 07/27/2017, which brought it current with

a $0 balance, according to Plaintiff’s Trans Union credit disclosure. Plaintiff’s debt obligation on

Hancock Whitney account # ****9018 ceased to exist on or before 07/27/2017. Despite the debt

related to Hancock Whitney account # ****9018 being fully eliminated on or before 07/27/2017,

Hancock Whitney continued to report an erroneous pay status of Account 90 Days Past Due as of

11/16/2018.

   10.      Plaintiff’s debt on Hancock Whitney account # ****9018 arose from a credit card.

The      debt   from      this     account   was     eliminated      on   or     about    07/2017,

which brought it current with a $0 balance, according to Plaintiff’s Equifax credit disclosure.



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Plaintiff’s debt obligation on Hancock Whitney account # ****9018 ceased to exist on or before

07/2017. Despite the debt related to Hancock Whitney account #****9018 being fully eliminated

on or before 07/2017, Hancock Whitney continued to report an erroneous pay status of 90-119

Days Past Due as of 11/08/2018.

   11.      TransUnion’s report dated 11/16/2018 reported Plaintiff’s Hancock Whitney account

with a current “Pay Status: Account 90 Days Past Due” even though Plaintiff’s debt on this

account ceased to exist on or before 07/27/2017.

   12.     Equifax’s report dated 11/08/2018 reported Plaintiff’s Hancock Whitney account with

a current “Pay Status: 90-119 Days Past Due” even though Plaintiff’s debt on this account ceased

to exist on or before 07/2017.

   13.     Although Plaintiff’s account had a zero balance, Plaintiff’s Trans Union report dated

11/16/2018 reported the “Pay Status: Account 90 Days Past Due.” It is impossible and incorrect

for an account that is closed with a “0” balance to still be reporting as late as of 11/16/2018. Not

only is the Hancock Whitney account false on the face of the credit report but this reporting is

extremely misleading because it makes it look like the Plaintiff is still late on this account that

was previously brought to a zero balance.

   14.     Although Plaintiff’s account had a zero balance, Plaintiff’s Equifax report dated

11/08/2018 reported the “Pay Status: 90-119 Days Past Due.” It is impossible and incorrect for

an account that is closed with a “0” balance to still be reporting as late as of 11/08/2018. Not

only is the Hancock Whitney account false on the face of the credit report but this reporting is

extremely misleading because it makes it look like the Plaintiff is still late on this account that

was previously brought to a zero balance.




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   15.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Trans Union disputing the erroneous current pay status of Account 90 Days Past

Due that Hancock Whitney was reporting to Trans Union. Based on information and belief,

Trans Union sent an ACDV to Hancock Whitney to alert them of Plaintiff’s dispute and give

them the opportunity to investigate Plaintiff’s dispute and correct or delete any incorrect data

they were reporting to Trans Union. Instead of correcting the erroneous historical pay status they

were reporting to Trans Union on Hancock Whitney account # ****9018, Hancock Whitney

verified the inaccurate pay status to Trans Union and continued to report a historical pay status to

Trans Union instead of a current pay status on Plaintiff’s account with Hancock Whitney. As a

result of Plaintiff’s dispute, Hancock Whitney verified the current pay status of the account as

accurate and instructed Trans Union to continue to report an inaccurate pay status of “Pay Status:

Account 90 Days Past Due”. As a result of Hancock Whitney’s unreasonable and lacking

investigation, Trans Union continued to report the inaccurate pay status on Plaintiff’s Trans

Union Credit Report at the instructions of Hancock Whitney. Plaintiff’s latest Trans Union credit

report dated 11/16/2018 is currently reporting the same inaccurate pay status on the Hancock

Whitney account.

   16.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Equifax disputing the erroneous current pay status of 90-119 Days Past Due that

Hancock Whitney was reporting to Equifax. Based on information and belief, Equifax sent an

ACDV to Hancock Whitney to alert them of Plaintiff’s dispute and give them the opportunity to

investigate Plaintiff’s dispute and correct or delete any incorrect data they were reporting to

Equifax. Instead of correcting the erroneous historical pay status they were reporting to Equifax

on Hancock Whitney account # ****9018, Hancock Whitney verified the inaccurate pay status



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to Equifax and continued to report a historical pay status to Equifax instead of a current pay

status on Plaintiffs account with Hancock Whitney. As a result of Plaintiff’s dispute, Hancock

Whitney verified the current pay status of the account as accurate and instructed Equifax to

continue to report an inaccurate pay status of “Pay Status: 90-119 Days Past Due”. As a result of

Hancock Whitney unreasonable and lacking investigation, Equifax continued to report the

inaccurate pay status on Plaintiff’s Equifax Credit Report at the instructions of Hancock Whitney.

Plaintiff’s latest Equifax credit report dated 11/08/2018 is currently reporting the same inaccurate

pay status on the Hancock Whitney account.

   17.     Based on information and belief, Trans Union and Equifax have abandoned and been

derelict in its duties under the Fair Credit Reporting Act and have not conducted independent

investigations into Plaintiff’s dispute of the Hancock Whitney account.

   18.     Trans Union and Equifax did not follow reasonable procedures to assure maximum

possible accuracy and have been reporting false and inaccurate information even after they knew

or should have known the information was incorrect.

   19.     Hancock Whitney did not provide a good faith and reasonable investigation into the

disputed current pay status on the account they report to Trans Union and Equifax on Plaintiff.

Hancock Whitney’s investigation was unreasonable and lacking because it failed to lead

Hancock Whitney to correct the inaccurate pay status they were reporting to Trans Union and

Equifax on Plaintiff. A reasonable investigation would have discovered they should be reporting

the account to Trans Union as “was previously Account 90 Days Past Due” or “Current, was

previously Account 90 Days Past Due,” and a reasonable investigation would have discovered

they should be reporting the account to Equifax as “was previously 90-119 Days Past Due” or

“Current, was previously 90-119 Days Past Due.” If the account had been reported in either of



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these methods, it would have no longer been reviewed as a current past due obligation and would

have had much less of an impact on Plaintiff’s credit profile after two years from the date the

account balance was eliminated. Instead, the Hancock Whitney account is being reported as a

current past due obligation monthly.

   20.     Trans Union did not provide a good faith investigation into the disputed pay status of

the Hancock Whitney account. Based on information and belief, Trans Union did nothing more

than parrot data from Hancock Whitney in their investigation.

   21.     Equifax did not provide a good faith investigation into the disputed pay status of the

Hancock Whitney account. Based on information and belief, Trans Union did nothing more than

parrot data from Hancock Whitney in their investigation.

   22.     The Hancock Whitney account is not only inaccurate, but it is also misleading, which

the Fifth Circuit has addressed. The Fifth Circuit has ruled that a credit report is inaccurate on its

face if it is so misleading that it leads to adverse credit decisions, please see Sepulvado vs. CSC

Credit Services, 158 F.3d 890, 895 (5th Cir. 1988) (a consumer report is inaccurate if it is

“misleading in such a way and to such an extent that it may be expected to adversely affect credit

decisions”).

   23.     Trans Union has a statutory duty to have reasonable procedures to assure maximum

accuracy. Their procedures regarding the reporting of current pay statuses are not assuring

accuracy, much less maximum accuracy. Trans Union’s lacking policies and procedures are

continuing to allow data furnishers such as Hancock Whitney, to report historical pay statuses

where a current pay status is needed.

   24.     Equifax has a statutory duty to have reasonable procedures to assure maximum

accuracy. Their procedures regarding the reporting of current pay statuses are not assuring



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accuracy, much less maximum accuracy. Equifax’s lacking policies and procedures are

continuing to allow data furnishers such as Hancock Whitney, to report historical pay statuses

where a current pay status is needed.

    25.     The reporting of this inaccurate payment status on Plaintiff’s credit report negatively

reflects upon the Plaintiff, their credit repayment history, their financial responsibility as a debtor

and their credit worthiness. The inaccurate pay status was furnished by Hancock Whitney and

reported by Trans Union and Equifax, misrepresenting the payment rating and/or status of

Plaintiff’s account, and is currently being reported and reflected upon Plaintiff’s most recent

credit report, resulting in lowering Plaintiff’s credit score and furthering and increasing

Plaintiff’s damages.

    26.     Plaintiff’s credit reports, credit information and file formulated by Trans Union and

Equifax have been viewed by current and potential credit grantors and extenders of credit, as

indicated by inquiries on each of their credit reports. The inaccurate information furnished by

Hancock Whitney and reported by Trans Union and Equifax is continuing to damage the

Plaintiff’s credit rating as well as their credit reputation.

    27.     As a result of Defendants Trans Union, Equifax and Hancock Whitney’s conduct,

Plaintiff has suffered great physical, emotional, and mental pain and anguish, all to Plaintiff’s

great detriment and loss.

    28.     As a result of Defendants’ conduct, Plaintiff has suffered actual damages all to

Plaintiff’s great detriment and loss.

    29.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants, and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendants herein.



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   30.     At all times pertinent hereto, the conduct of the Defendants, as well as that of their

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal laws and the rights of the Plaintiff herein.

                                        CAUSES OF ACTION

   31.     Plaintiff incorporates by reference the foregoing paragraphs and footnotes as though

the same were set forth at length herein.

   32.     This suit is based upon the Defendants’ violations of the Fair Credit Reporting Act.

All causes of action were the producing causes of damages which Plaintiff has suffered.

                  COUNT I—VIOLATION OF THE FAIR REPORTING ACT

   33.     Plaintiff incorporates by reference the foregoing paragraphs and as though the same

were set forth at length herein.

   34.      This suit is brought against the Defendants as the damages made the basis of this suit

were caused by their violations of the FCRA. In all instances of violating the FCRA, Defendants

did so willfully and/or negligently. Under, 15 U.S.C. §1681n and §1681o, the Plaintiff is entitled

to recover actual damages, punitive damages, and reasonable attorneys’ fees.

15 U.S.C. §1681n, “Civil Liability for willful noncompliance” reads:

               (a) Any person who willfully fails to comply with any requirement
               imposed under this title with respect to any consumer is liable to
               that consumer in an amount equal to the sum of
               (1) any actual damages sustained by the consumer as a result of the
               failure or damages of not less than $100 and not more than $1000
               (2) such amount of punitive damages as the court may allow; and
               (3) in the case of any successful action to enforce any liability
               under this section, the costs of the action together with reasonable
               attorneys fees as determined by the court.


   And 15 U.S.C. §1681o, “Civil Liability for negligent noncompliance” reads:

               (a) Any person who is negligent in failing to comply with any

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               requirement imposed under this title with respect to any consumer
               is liable to that consumer in an amount equal to the sum of:

               (1) any actual damages sustained by the consumer as a result of the
               failure; and
               (2) in the case of any successful action to enforce any liability
               under this section, the costs of the action with reasonable
               attorney’s fees as determined by the court.


                                  TransUnion’s FCRA Violations

   35.      Trans Union violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good

faith investigation into Plaintiff’s notice of dispute. Plaintiff requested Trans Union to

reinvestigate the inaccurate reporting of the current pay status on their Hancock Whitney account

via detailed and thorough dispute letter specifically disputing the inaccurate current “Pay Status:

Account 90 Days Past Due”.

   36.      The dispute was detailed, thorough and informed Trans Union of all the relevant

information regarding the inaccuracies of the account and provided enough information to show

the account was being reported inaccurately. A portion of the dispute letter is reproduced below.




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   37.     Trans Union did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute. If they had, they would have discovered that Hancock Whitney was reporting an

incorrect historical pay status to them instead of an accurate current pay status. All the

information Trans Union needed to determine this was in its own records and files. Based on

information and belief, Trans Union forsook its duties under the Fair Credit Reporting Act and

has not conducted its own independent investigation into Plaintiff’s dispute of the Hancock

Whitney account. Trans Union simply parroted data from an ACDV sent to it by Hancock

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Whitney. Based on information and belief, Trans Union did not place one call or send one email

investigating Plaintiff’s dispute of the Hancock Whitney account. Trans Union simply

regurgitated data from the ACDV.

   38.      The disputed account has a current pay status that is “Pay Status: Account 90 Days

Past Due” even though Trans Union is currently reporting Plaintiff’s account with a “$0” balance.

It is impossible for Plaintiff to make “$0” payments to bring the account current. With this type

of reporting, Plaintiff will never be able to bring the account current. A reproduction of the

inaccurate reporting is seen below.




   39.     Trans Union was notified and made aware of the specific issues from the dispute

letter. It should have been easy for Trans Union to determine that the account extremely

inaccurate with the information that was provided.

   40.     Trans Union is allowing the data furnisher, Hancock Whitney to report historical data

within a data field for the current status of the account. When a current status code is used to

report historical data, the credit scoring algorithm’s treat the historical data as current data. The

effect is obvious. The erroneous status decreases the consumer’s credit worthiness by implying

that the consumer is currently late on an existing obligation. In other words, if Hancock Whitney




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would have reported Plaintiff’s Hancock Whitney account as previously late on their loan—an

accurate reporting, Plaintiff would not be here today.

   41.     The fact that Trans Union is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable

and have been viewed by third parties, is proof that Trans Union did not conduct a reasonable

investigation. If Trans Union would have thoroughly investigated the issues, they would have

determined that the account was paid off, with a “$0” balance and still reporting as if Plaintiff is

currently late and past due. If Trans Union had conducted a reasonable and good faith

investigation they would have corrected or deleted the Plaintiff’s account that is inaccurate and

misleading.

     The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

              (1) Reinvestigation required

                     (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                     any item of information contained in a consumer's file at a consumer reporting
                     agency is disputed by the consumer and the consumer notifies the agency
                     directly, or indirectly through a reseller, of such dispute, the agency shall, free
                     of charge, conduct a reasonable reinvestigation to determine whether the
                     disputed information is inaccurate and record the current status of the disputed
                     information, or delete the item from the file in accordance with paragraph (5),
                     before the end of the 30 day period beginning on the date on which the agency
                     receives the notice of the dispute from the consumer or reseller.
   And:

   15 U.S.C. §1681i(a)(5) reads:

                 (5) Treatment of Inaccurate or Unverifiable Information

                 (A)In general. If, after any reinvestigation under paragraph (1) of
                 any information disputed by a consumer, an item of the



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               information is found to be inaccurate or incomplete or cannot be
               verified, the consumer reporting agency shall-

                        (i)    promptly delete that item of information from the
                               file of the consumer, or modify that item of
                               information, as appropriate, based on the results of
                               the reinvestigation; and

                        (ii)   promptly notify the furnisher of that information
                               that the information has been modified or deleted
                               from the file of the consumer

   42.     Trans Union is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Trans Union was complying with 15 U.S.C.

§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

accounts with a zero balance from being reported with a current status of past due or late.

   43.     Plaintiff’s debt on the Hancock Whitney account was fully eliminated, but Trans

Union continued to report the account with a late/past due status. If Trans Union had reasonable

procedures, they would not allow an account to report as though the account is currently past

due, with a “$0” balance. This simply makes no logical sense. Trans Union should be reporting

the account as “current” or was “previously past due” and not “past due.” This account is

reporting as though the Plaintiff is currently past due each month. With this type of reporting,

Plaintiff will never be able to make their account current. Trans Union lacks the procedures to

avoid such faulty reporting. Trans Union knows that this account was paid, however, they

continue to report a current status as past due.

     15 U.S.C. §1681e(b) reads as follows:

                 (a) Accuracy of the Report

                Whenever a consumer reporting agency prepares a consumer
                report it shall follow reasonable procedures as assure maximum
                possible Accuracy of the information concerning the individual
                about whom the report relates.

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    44.     Trans Union has been on notice that reporting an account with a $0 balance and a late

status is not accurate. Trans Union was a co-defendant in Macik v. JPMorgan Chase Bank, N. A.,

et al.: U.S. District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-

44). Plaintiff’s Counsel filed suit against Transunion, Equifax and JPMorgan Chase bank in

Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a

zero ($) balance, even though the account was paid off five years earlier. Macik lost a home loan

because the program that is used in determining eligibility specifically stated that her Chase

account was late two or more times in the last twelve months, even though the loan it was

referring to was paid in full five (5) years earlier.

    45.     The Macik jury determined that reporting an account with a $0 balance, and a current

late pay status, is not only inaccurate, but a willful violation of the FCRA. Trans Union knows

this because they were a co-defendant and had counsel present when the jury verdict was

rendered as well as receiving an ECF copy of the ruling. Plaintiff cites this case to show that this

inaccurate reporting is an issue that not only should be determined by a jury, but that, in fact, a

jury has already returned a verdict on the issue deeming this type of reporting as inaccurate and a

willful violation of the FCRA.


                   Third Parties have viewed Plaintiff’s Trans Union Credit Report

    46.     The negative tradeline(s) reported by Hancock Whitney on Plaintiff’s Trans Union

Credit report have been viewed by third parties all to the detriment and loss of the Plaintiff.

    47.     Plaintiff has suffered actual harm due to Trans Union still reporting the negative

tradeline provided by Hancock Whitney on Plaintiff’s Trans Union report even though Trans

Union was put on notice of the inaccurate negative reporting through Plaintiff’s dispute letter.



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   48.       The conduct of the Defendant was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendant is liable to compensate Plaintiff for the full amount of

actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted by

law.

                                    Equifax’s FCRA Violations

   49.       Equifax violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good faith

investigation into Plaintiff’s notice of dispute. Plaintiff requested Equifax to reinvestigate the

inaccurate reporting of the current pay status on their Hancock Whitney account via detailed and

thorough dispute letter specifically disputing the inaccurate current “Pay Status: 90-119 Days

Past Due.”

   50.       The dispute was detailed, thorough and informed Equifax of all the relevant

information regarding the inaccuracies of the account and provided enough information to show

the account was being reported inaccurately.

   51.       Equifax did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute. If they had, they would have discovered that Hancock Whitney was reporting an

incorrect historical pay status to them instead of an accurate current pay status. All the

information Equifax needed to determine this was in its own records and files. Based on

information and belief, Equifax forsook its duties under the Fair Credit Reporting Act and has

not conducted its own independent investigation into Plaintiff’s dispute of the Hancock Whitney

account. Equifax simply parroted data from an ACDV sent to it by Hancock Whitney. Based on

information and belief, Equifax did not place one call or send one email investigating Plaintiff’s

dispute of the Hancock Whitney account. Equifax simply regurgitated data from the ACDV.



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   52.      The disputed account has a current pay status that is “Pay Status: 90-119 Days Past

Due” even though Equifax is currently reporting Plaintiff’s account with a “$0” balance. It is

impossible for Plaintiff to make “$0” payments to bring the account current. With this type of

reporting, Plaintiff will never be able to bring the account current. A reproduction of the

inaccurate reporting is seen below.




   53.     Equifax was notified and made aware of the specific issues from the dispute letter. It

should have been easy for Equifax to determine that the account was extremely inaccurate with

the information that was provided.

   54.     Equifax is allowing the data furnisher, Hancock Whitney to report historical data

within a data field for the current status of the account. When a current status code is used to

report historical data, the credit scoring algorithm’s treat the historical data as current data. The

effect is obvious. The erroneous status decreases the consumer’s credit worthiness by implying

that the consumer is currently late on an existing obligation. In other words, if Hancock Whitney

would have reported Plaintiff’s Hancock Whitney account as previously late on their loan—an

accurate reporting, Plaintiff would not be here today.

   55.     The fact that Equifax is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable

and have been viewed by third parties, is proof that Equifax did not conduct a reasonable

investigation. If Equifax would have thoroughly investigated the issues, they would have
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determined that the account was paid off, with a “$0” balance and still reporting as if Plaintiff is

currently late and past due. If Equifax had conducted a reasonable and good faith investigation

they would have corrected or deleted the Plaintiff’s account that is inaccurate and misleading.

     The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

           (1) Reinvestigation required

                   (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                   any item of information contained in a consumer's file at a consumer reporting
                   agency is disputed by the consumer and the consumer notifies the agency
                   directly, or indirectly through a reseller, of such dispute, the agency shall, free
                   of charge, conduct a reasonable reinvestigation to determine whether the
                   disputed information is inaccurate and record the current status of the disputed
                   information, or delete the item from the file in accordance with paragraph (5),
                   before the end of the 30 day period beginning on the date on which the agency
                   receives the notice of the dispute from the consumer or reseller.
   And:

   16 U.S.C. §1681i(a)(5) reads:

               (5) Treatment of Inaccurate or Unverifiable Information

               (A)In general. If, after any reinvestigation under paragraph (1) of
               any information disputed by a consumer, an item of the
               information is found to be inaccurate or incomplete or cannot be
               verified, the consumer reporting agency shall-

                         42.   promptly delete that item of information from the
                               file of the consumer, or modify that item of
                               information, as appropriate, based on the results of
                               the reinvestigation; and

                         43.   promptly notify the furnisher of that information
                               that the information has been modified or deleted
                               from the file of the consumer

   56.     Equifax is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Equifax was complying with 15 U.S.C.

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§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

accounts with a zero balance from being reported with a current status of past due or late.

   57.      Plaintiff’s debt on the Hancock Whitney account was fully eliminated, but Equifax

continued to report the account with a late/past due status. If Equifax had reasonable procedures,

they would not allow an account to report as though the account is currently past due, with a

“$0” balance. This simply makes no logical sense. Equifax should be reporting the account as

“current” or was “previously past due” and not “past due.” The account is reporting as though

the Plaintiff is currently past due each month. With this type of reporting, Plaintiff will never be

able to make their account current. Equifax lacks the procedures to avoid such faulty reporting.

Equifax knows that this account was paid, however, they continue to report a current status as

past due.

    15 U.S.C. §1681e(b) reads as follows:

                 (b) Accuracy of the Report

                Whenever a consumer reporting agency prepares a consumer
                report it shall follow reasonable procedures as assure maximum
                possible Accuracy of the information concerning the individual
                about whom the report relates.

   58.      Equifax has been on notice that reporting an account with a $0 balance and a late

status is not accurate. Equifax was a co-defendant in Macik v. JPMorgan Chase Bank, N. A., et

al.: U.S. District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-44).

Plaintiff’s Counsel filed suit against Trans Union, Equifax and JPMorgan Chase bank in

Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a

zero ($) balance, even though the account was paid off five years earlier. Macik lost a home loan

because the program that is used in determining eligibility specifically stated that her Chase




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account was late two or more times in the last twelve months, even though the loan it was

referring to was paid in full five (5) years earlier.

    59.     The Macik jury determined that reporting an account with a $0 balance, and a current

late pay status, is not only inaccurate, but a willful violation of the FCRA. Equifax knows this

because they were a co-defendant and received an ECF copy of the ruling. Plaintiff cites this

case to show that this inaccurate reporting is an issue that not only should be determined by a

jury, but that, in fact, a jury has already returned a verdict on the issue deeming this type of

reporting as inaccurate and a willful violation of the FCRA.


                     Third Parties have viewed Plaintiff’s Equifax’s Credit Report

    60.     The negative tradeline(s) reported by Hancock Whitney on Plaintiff’s Equifax Credit

report have been viewed by third parties all to the detriment and loss of the Plaintiff.

    61.     Plaintiff has suffered actual harm due to Equifax still reporting the negative tradeline

provided by Hancock Whitney on Plaintiff’s Equifax report even though Equifax was put on

notice of the inaccurate negative reporting through Plaintiff’s dispute letter.

    62.     The conduct of the Defendant was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendant is liable to compensate Plaintiff for the full amount of

actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted by

law.

                               Hancock Whitney’s FCRA Violations

    63.     Defendant, Hancock Whitney, violated its duty under 15 U.S.C. §1681s-2(b) to

conduct a reasonable and good faith investigation into Plaintiff’s notice of inaccurate reporting

through a dispute letter, sent via Trans Union and Equifax, and by failing to delete or correct the

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inaccurate information. Specifically, Plaintiff’s dispute letter’s put Hancock Whitney on notice

that they were reporting an inaccurate current payment status on Plaintiff’s account. After

receiving a dispute notice from Trans Union and Equifax, via an ACDV (Automated Credit

Dispute Verification form), Hancock Whitney, did not conduct a complete, accurate or

reasonable investigation into the current pay status of the Plaintiff’s account. Hancock Whitney

verified the inaccurate pay status that was disputed by Plaintiff and continues to report it based

on information and belief. Hancock Whitney should have discovered that the information they

are providing the Credit Reporting Agencies was not accurate when they researched their records

and discovered they were reporting Plaintiff as currently late on an account with no debt.

Hancock Whitney knew of their current faulty reporting because Plaintiff’s account has a $0

balance. Had Hancock Whitney properly investigated Plaintiff’s dispute, they would have

corrected the current pay status on their account and stopped reporting historical data in the account’s

current pay status field. It is impossible for Plaintiff to make “$0” payments to bring their account

current. Hancock Whitney was made fully aware of the inaccurate reporting and failed to correct

or delete the account.

   The section entitled “Duty of Furnishers of Information Upon Notice of Dispute”

   under 15 U.S.C. §1681s-2(b) reads:

         a.    After receiving notice pursuant to section 1681i(a)(2) of this title of a dispute
              with regard to the completeness or accuracy of any information provided by a
              person to a consumer reporting agency, the person shall

                                    i. conduct an investigation with respect to the disputed
                                         information:

                                   ii. review all relevant information provided by the
                                          consumer reporting agency pursuant to section
                                          1681i(a)(2) of this title;

                                   iii. report the results of the investigation to the consumer

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                                         reporting agency;

                                  iv. if the investigation finds that the information is
                                         incomplete or inaccurate, report those results to all
                                         other consumer reporting agencies to which the
                                         person furnished the information and that compile
                                         and maintain files on consumers on a nationwide
                                         basis.

                                     v. if an item of information disputed by a consumer is found
                                            to be inaccurate or incomplete or cannot be verified
                                            after any reinvestigation under paragraph (1), for
                                            purposes of reporting to a consumer reporting agency
                                            only, as appropriate based on the results of the
                                            reinvestigation promptly
                          i modify that item of information
                        ii delete that item of information
                       iii permanently block the reporting of that item of information


   64.        Even after being put on notice through Plaintiff’s dispute letters, Hancock Whitney

continued to report historical data within a data field for the current status of the account. When

a current status code is used to report historical data, the credit scoring algorithm’s treat the

historical data as current data. The effect is obvious. The erroneous status decreases the

consumer’s credit worthiness by implying that the consumer is currently late on an existing

obligation. In other words, if Hancock Whitney would have reported Plaintiff’s Hancock

Whitney account as previously late on their loan—an accurate reporting, Plaintiff would not be

here today.

   65.        Hancock Whitney willfully and negligently supplied the credit reporting agencies

with information about Plaintiff that was false, misleading, and inaccurate.

   66.        After receiving notice of Plaintiff’s dispute, Hancock Whitney willfully and

negligently failed to conduct a reasonable investigation of the inaccurate information that

Plaintiff disputed and continued reporting the inaccurate information to the credit bureaus.



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    67.      By failing to conduct a reasonable investigation into Plaintiff’s dispute, Hancock

Whitney negligently violated § 1681s-2(b).

    68.      Alternatively, by willfully failing to conduct a reasonable investigation Hancock

Whitney willfully violated § 1681s 2(b).

          Industry Guidelines cannot negate Defendants’ obligations under the FCRA

    69.      The Defendants cannot rely on their industry guidelines as a defense in this matter.

Please see EMILY COULTER, Plaintiff, v. CHASE BANK USA, N.A., Defendant. (“We agree

with Plaintiff that Defendant may not use these guidelines as a defense here. Notably, Defendant

does not cite to any legal authority for the proposition that adherence to these industry guidelines

shields it from FCRA liability. (See ECF No. 86 at 15-16). Indeed, the relevant case law plainly

runs counter to this argument. See, e.g., Florence v. Cenlar Fed. S&L, No. 16-587, 2018 U.S.

Dist. LEXIS 34151, at *20 (D. Nev. Mar. 1, 2018) (“industry guidelines—such as Metro 2—do

not establish the standards for accuracy under the FCRA.”); Burrows v. Experian Info. Sols., Inc.,

No. 16-6356, 2017 U.S. Dist. LEXIS 39845, at *21-22 (N.D. Cal. Mar. 20, 2017) (“FCRA does

not mandate compliance with Metro 2 or any other particular set of industry standards.”)”).

EMILY COULTER, Plaintiff, v. CHASE BANK USA, N.A., Defendant., No. CV 18-1538, 2020

WL 5820700, at *12 (E.D. Pa. Sept. 30, 2020).

    70.      The negative tradeline(s) reported by Hancock Whitney on Plaintiff’s Trans Union

and Equifax credit reports have been viewed by third parties all to the detriment and loss of the

Plaintiff.

    71.      Plaintiff has suffered actual harm due to Trans Union and Equifax still reporting the

negative tradeline provided by Hancock Whitney on Plaintiff’s Trans Union and Equifax reports




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even though Defendants were put on notice of the inaccurate negative reporting through

Plaintiff’s dispute letter.

    72.     The conduct of Defendants was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendants are liable to compensate Plaintiff for the full amount

of actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted

by law.

                                   DEMAND FOR JURY TRIAL

    73.     Plaintiff demands trial by jury.

                                       PRAYER FOR RELIEF

    WHEREFORE, the Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendants based on the following requested relief:

    a. Actual damages pursuant to 15 U.S.C. §1681;

    b. Statutory damages pursuant to 15 U.S.C. §1681;

    c. Punitive damages pursuant to 15 U.S.C. §1681;

    d. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n, §1681o; and

    e. Such other and further relief as may be necessary, just and proper.




    Dated: November 6, 2020

            Respectfully submitted,


                               /s/Jonathan Raburn
                                Jonathan Raburn
                                ATTORNEY FOR PLAINTIFF

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